
McKinney, J.
delivered the opinion of the court.
We think the circuit judge erred in rejecting the record of the suit of James vs. Pritchard, offered as evidence in behalf of the plaintiff on the trial of this cause.
The question respecting the competency and admissibility of the record, as evidence, is wholly different from that which respects its sufficiency and effect. The former question belongs exclusively to the court; and the latter is as exclusively within the province of the jury.
The admissibility of the record, offered as evidence in the present case, cannot be questioned, and it should have *385been permitted to go to the jury, with proper instructions from the court; as the question, whether or not it legitimately tended to establish the fact of relationship between the plaintiff in that case and the plaintiff in the present action, or any other fact relevant tto the issue joined between the parties, was a matter for the consideration and determination of the jury. And, therefore, in rejecting the record, the court assumed the province of the jury, and decided not merely the question of competency, but likewise the effect or sufficiency of the evidence; this was error.
The judgment will be reversed and a new trial awarded.
